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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA



      UNITED STATES OF AMERICA,

      Plaintiff,
              v.                                                          No. 23-mj-243-ZMF

      JOSEPH CATTANI,

      Defendant.


                                       MEMORANDUM OPINION

            Mr. Cattani is currently on release pre-trial. See Def.’s Mot. Int’l Travel (“Def.’s Mot.”) ¶

     3, ECF No. 26. He has requested to travel to Mexico from October 5, 2024 to October 12, 2024

     to attend a personal workshop. See id. ¶ 5. For the reasons stated below, this Court GRANTS Mr.

     Cattani’s request for permission to travel internationally.

I.          BACKGROUND

            A.      Criminal Charges

            On September 6, 2023, the government charged Mr. Cattani with five misdemeanor

     charges in connection with the events of January 6, 2021. See Compl. 1, ECF No. 1.

            B.      Pretrial Conditions

            On September 19, 2023, the Court imposed several conditions of release, including a

     requirement that Mr. Cattani obtain Court approval for any travel outside of the continental United

     States. See Order Setting Conditions of Release (“Order Conditions”) 2, ECF No. 7. On August

     28, 2024, Mr. Cattani requested permission to travel to Mexico to attend a workshop. See Def.’s

     Mot. ¶ 5.




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 II.           STANDARD

               Under the Bail Reform Act, “[t]he judicial officer may at any time amend the order to

       impose . . . different conditions of release.” 18 U.S.C. § 3142(c)(3). Furthermore, “a defendant

       must be . . . subject to the least restrictive . . . condition, or combination of conditions, that . . . will

       reasonably assure the appearance of the person as required and the safety of any other person and

       the community.” See, e.g., United States v. Irizarry, No. 22-3028, 2022 WL 2284298, at *1 (D.C.

       Cir. June 24, 2022) (quoting 18 U.S.C. § 3142(c)(1)(B)). Consequently, the two necessary

       inquiries are whether (1) the defendant poses a flight risk or (2) poses a danger to the community.

       See United States v. Klein, 533 F. Supp. 3d 1, 8 (D.D.C. 2021).

           When considering these two inquiries, courts must review:

                       (1) the nature and circumstances of the offense charged . . . ; (2) the weight
                       of the evidence against the person; (3) the history and characteristics of the
                       person, including . . . the person’s character, physical and mental condition,
                       family ties, employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug or
                       alcohol abuse, criminal history, and record concerning appearance at court
                       proceedings; and . . . (4) the nature and seriousness of the danger to any
                       person or the community that would be posed by the person’s release.

       See 18 U.S.C. § 3142(g).

III.           ANALYSIS

               A.      Dangerousness

               The government does not argue that Mr. Cattani poses a danger to the community. See

       Gov’t’s Opp’n Def.’s Mot. Modify Conditions Release (“Gov’t’s Opp’n”) 1, ECF No. 27. Thus,

       the Court will not consider this factor. See Irizarry, 2022 WL 2284298, at *2 (“clearly erroneous”

       for a court to detain a defendant pretrial on dangerousness absent government arguments about

       danger).




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       B.      Flight Risk

       A determination that a defendant is a flight risk “must be supported by a preponderance of

the evidence.” United States v. Vasquez-Benitez, 919 F.3d 546, 551 (D.C. Cir. 2019). When

considering a request to modify conditions of release, “the nature and circumstances of the offense

charged and the weight of the evidence . . . have little bearing on his flight risk.” United States. v.

Purse, No. 21-0512, 2022 WL 17264634, at *2 (D.D.C. Nov. 29, 2022) (internal quotation marks

omitted). Thus, courts focus on the third § 3142(g) factor, the defendant’s “history and

characteristics.” See id. Courts also consider the likelihood of flight in the context of travel

destination and whether the government opposes the motion to permit international travel. See

United States v. Viau, No. CR 19-09, 2019 WL 3412920, at *3 (D.D.C. July 29, 2019); Irizarry

2022 WL 2284298, at *2.

               1.      History and Characteristics

       Relevant considerations under “history and characteristics” are the defendant’s “character,

physical and mental condition, family ties, employment, financial resources, length of residence

in the community, community ties, past conduct, history relating to drug or alcohol abuse, criminal

history, and record concerning appearance at court proceedings.” § 3142(g)(3)(a).

       First, Mr. Cattani has shown good character of late. In the three years since January 6,

2021, he has not engaged in any other criminal activity. See Pretrial Services Report (“PSA

Report”), ECF No. 6. The Pretrial Services Agency has noted no violations in the time it has

supervised Mr. Cattani, demonstrating his compliance and cooperation. See Def.’s Mot. ¶ 4.

               2.      Location of Travel

       Mr. Cattani’s intended travel to a workshop in Mexico does not raise a red flag. As noted

in Irizarry, it would be unreasonable for the Court to assume that all international travel




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destinations pose a threat of the defendant “wandering into Russia.” See 2022 WL 2284298, at *2

(permitting January 6th defendant to travel internationally to Estonia). And Mexico is not the new

Russia. Indeed, Mexico does not appear to pose unique obstacles to extradition. See generally

Extradition Treaty Between the United States of America and the United Mexican States, Art. I et

seq., May 4, 1978, 31 U.S.T. 5059; see also U.S. Embassy & Consulates in Mexico, Extraditions

(March 22, 2021), https://perma.cc/68MN-2QTR (“Since 2005, Mexico has deported between 150

and 200 fugitives to face justice in the U.S.”).

                3.      Government Opposition to Motion

         The government objects to Mr. Cattani’s travel because it is for “recreation[]” and because

the prohibition against international travel is “the least restrictive” condition necessary to ensure

his future appearance. See Gov’t’s Opp’n at 1. But the government misstates the conditions of pre-

trial release. The order does not outright prohibit international travel, but rather, provides that “[a]ll

travel outside the Continental United States must be approved by the Court.” Order Conditions at

2. Furthermore, the government does not provide facts that indicate Mr. Cattani poses a flight risk

or cite any authority to support that travel for recreation is disfavored. See generally Gov’t’s

Opp’n.

         The government also argues that Mr. Cattani’s charges—which are misdemeanors—are

“serious offenses.” See id. at 1. However, the seriousness of the offenses is not a relevant

consideration for flight risk. See Purse, 2022 WL 17264634, at *2. At bottom, it appears the

government seeks to punish Mr. Cattani pre-trial for what happened on January 6th. This is a

repeated theme from the government that must again be rejected. See Irizarry, 2022 WL 2284298,

at *1. It is “error” to make pre-trial release rulings based “on global judgments about all defendants

charged with offenses related to January 6, rather than on an individualized assessment of safety




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      concerns or flight risks presented by [a defendant] himself.” Id. Moreover, a defendant “may not

      be punished prior to an adjudication of guilt in accordance with due process of law.” Bell v.

      Wolfish, 441 U.S. 520, 535 (1979). While the alleged conduct here is deeply concerning and

      worthy of punishment upon a finding of guilt, the presumption of innocence is not suspended when

      determining conditions of pretrial release. See 18 U.S.C. § 3142(j). Thus, the Court will not use

      pretrial release conditions to punish Mr. Cattani.

IV.          CONCLUSION

             Temporarily modifying Mr. Cattani’s conditions of release to permit his travel to Mexico

      is consistent with the requirement to enact only the “the least restrictive . . . condition, or

      combination of conditions, that . . . will reasonably assure the appearance” of a defendant. Id.

      § 3142(c)(1)(B); see Irizarry, 2022 WL 2284298, at *1 (permitting January 6th defendant to travel

      to Estonia).

             Accordingly, it is hereby ORDERED that Mr. Cattani’s conditions of release are modified

      to allow Mr. Cattani to travel to Mexico from October 5, 2024 to October 12, 2024 so long as he

      first provides the Pretrial Services Agency with his full itinerary. He may also apply for and obtain

      a passport, which he must return to the Pretrial Services Agency no later than 72 hours after his

      return to the United States.



                                                    Zia M.            Digitally signed by
                                                                      Zia M. Faruqui

      Date: September 12, 2024                      Faruqui           Date: 2024.09.12
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                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE




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